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                    UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA



CHARNETTA GADLING-COLE,                  HONORABLE JEROME B. SIMANDLE
                   Plaintiff,

         v.                                 Civil No. 11-796 (JBS)
WEST CHESTER UNIVERSITY,

                   Defendant.
                                                   JUDGMENT




      This matter was tried to the Court and a Jury on May 19-23,

2014; and

      The Jury having returned its Verdict on May 23, 2014

finding Defendant liable but awarding no compensatory damages;

and

      The Court, upon the issue of back pay, having made its

findings of fact and conclusions of law upon the record pursuant

to Rule 52(a) (1),    Fed. R. Civ. P., on May 23, 2014, awarding

back pay in the amount of $7,000 in favor of Plaintiff and

against Defendant;

      IT IS this     27th       day of May, 2014 hereby

      ORDERED and ADJUDGED that Judgment be entered in favor of

Plaintiff Charnetta Gadling-Cole and against Defendant West
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Chester University in the amount of Seven Thousand Dollars

($7,000.00), plus costs for Plaintiff.



                                         s/ Jerome B. Simand.1e
                                       JEROME B. SIMANDLE
                                       Chief U.S. District Judge
                                        (sitting by designation,
                                         28 u.s.c. § 292(b))




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